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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


United States of America
                                          Criminal No. 11-cr-84-02-JL
          v.

Jesus Manuel G. Guzman



                                  O R D E R


     The assented to motion to reschedule jury trial (document no.

61) filed by defendant is granted in part. Continuance Limited to

30 days. If counsel desires a 90-day continuance, the defendant and

counsel should understand that such a lengthy one will be the only

one granted without a persuasive showing of good cause.                 At this

point, on this showing, 30 days granted. The following deadlines

apply to all defendant’s.       Final Pretrial is rescheduled to June 26,

2013 at 10:00 AM; Trial is continued to the two-week period beginning

July 9, 2013, 9:30 AM. In addition to various filing deadlines

contained in the local rules, the parties shall also file any in

limine motions no later than ten (10) days prior to the final pretrial

conference.     Objections to motions in limine shall be filed no later

than three (3) days prior to the final pretrial conference.

     Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the
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defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.



      SO ORDERED.

                                         ____________________________
                                         Joseph N. Laplante
                                         Chief Judge


Date: May 14, 2013

cc:   John W. Mitchell, Esq.
      Paul A. Maggiotto, Esq.
      Donald A. Feith, Esq.
      Jeffrey E. Feiler, Esq.
      Michael J. Connolly, Esq.
      U.S. Marshal
      U.S. Probation
